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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                       X
                                            SEALED
UNITED STATES OF AMERICA                    INDICTMENT

           -   V.   -
                                            20 Cr.

GEORGE BRIDI,

          Defendant.


                                       X
                                 COUNT ONE
                    (Copyright Infringement Conspiracy}

          The Grand Jury charges:

                        RELEVANT PERSONS AND ENTITIES

          1.        GEORGE BRIDI, the defendant, is a British

national who, at all times relevant to this Indictment, resided

in the Isle of Wight, United Kingdom.

                           OVERVIEW OF THE SCHEME

          2.        From at least in or around 2011, up to and

including in or around January 2020, GEORGE BRIDI, the

defendant, and others known and unknown, were members of a

criminal conspiracy known as the "Sparks Group".          The primary

objective of the Sparks Group was to fraudulently obtain DVDs

and Blu-Ray discs for copyrighted movies and television shows

prior to their retail release date, compromise the copyright

protections on the discs, reproduce and upload the copyrighted

content to servers controlled by the Sparks Group, and
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disseminate the copyrighted content on the Internet for public

consumption before the DVDs and Blu-Ray discs were made

available for sale by retailers to the public.        Over the course

of the conspiracy, the Sparks Group has successfully reproduced

and disseminated hundreds of movies and television shows prior

to their retail release date, including nearly every movie

released by major production studios.       The Sparks Group has

caused tens of millions of dollars in losses to film production

studios.

                MEANS AND METHODS OF THE CONSPIRACY

           3.   The Sparks Group generally worked as follows:

                a.     First, members of the Sparks Group,

including GEORGE BRIDI, the defendant, fraudulently obtained

DVDs and Blu-Ray discs from wholesale distributors up to several

weeks prior to their retail release date.       To do so, members of

the Sparks Group, including BRIDI, made various material

misrepresentations and omissions to the wholesale distributors,

concerning, among other things, the reasons that members of the

Sparks Group were obtaining DVDs and Blu-Ray discs prior to the

retail release date.     The Sparks Group continuously searched for

and solicited distributors and retailers that could be used to

obtain DVDs and Blu-Ray discs as early as possible.

                b.     Once they obtained the DVDs and Blu-Ray

discs, members of the Sparks Group used computers with

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specialized software that compromised the copyright protections

on the discs (a process known as "cracking" or "ripping") and

reproduced and encoded the content in a high-definition format

that could be easily copied and disseminated over the Internet.

                c.   Members of the Sparks Group then uploaded

copies of the copyrighted content onto servers controlled by the

Sparks Group, where other members of the Sparks Group further

reproduced and disseminated the content on streaming websites,

peer-to-peer networks, torrent networks, and other servers

accessible to members of the public, all before the retail

release date for the DVDs and Blu-Ray discs .

                d.   The Sparks Group identified its

reproductions by encoding the filenames of the reproduced

copyrighted content with the tags "SPARKS," "DRONES," "ROVERS,"

"GECKOS," and "SPRINTER," among others.       The Sparks Group also

uploaded photographs of the discs in their original packaging to

its servers to demonstrate that the reproductions originated

from authentic DVDs and Blu-Ray discs.

                        STATUTORY ALLEGATIONS

          4.    The allegations contained in paragraphs 1 through

3 of this Indictment are repeated and realleged as if full y set

forth herein.

          5.    From at least in or around 2011, up to and

including in or around January 2020, in the Southern District of

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New York and elsewhere, GEORGE BRIDI, the defendant, and others

known and unknown, willfully and knowingly did combine,

conspire, confederate and agree together and with each other to

commit offenses against the United States, to wit, to violate

Title 17, United States Code, Sections 506(a) (1) (B) and (C); and

to violate Title 18, United States Code, Sections 2319(c) (1) and

(d) (1) .

               6.    It was a part and an object of the conspiracy

that GEORGE BRIDI, the defendant, and others known and unknown,

would and did willfully infringe a copyright by the reproduction
                                                          /
and distribution, including by electronic means, during a 180-

day period, of ten and more copies and phonorecords of one and

more copyrighted works, which have a total retail value of more

than $2,500, in violation of Title 17, United States Code,

Section 506 (a) (1) (B) and Title 18, United States Code, Section

2319 (c) (1).

               7.    It was further a part and an object of the

conspiracy that GEORGE BRIDI, the defendant, and others known

and unknown, would and did willfully infringe a copyright by the

distribution of a work being prepared for commercial

distribution, by making it available on a computer network

accessible to members of the public, knowing and having reason

to know that the work was intended for commercial distribution,

in violation of Title 17, United States Code, Section

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506 (a) (1) (C) and Title 18, United States Code, Section

2319 (d) (1).

                                           OVERT ACTS

             8.      In furtherance of the conspiracy and to effect

the illegal objects thereof, the following overt acts, among

others, were committed in the Southern District of New York and

elsewhere:

                     a.     On numerous            occasions    between in or around

2011 and in or around December 2019, GEORGE BRIDI, the defendant,

fraudulently arranged for discs containing copyrighted films and

television        shows    to   be    picked       up,    mailed,    or    delivered        from

distributors located in Manhattan,                       Brooklyn,   and New Jersey to

other members of the Sparks Group prior to their official release

date for the purpose of compromising the copyright protections on

the discs and reproducing and distributing the copyrighted content

on a computer network accessible to members of the public.

                     b.     On numerous            occasions    between in or around

2011 and in or around December 2019, GEORGE BRIDI, the defendant,

reproduced,       and     aided      and    abetted      the   reproduction       of,     discs

containing        copyrighted         films    and       television       shows     by    using

computer software that circumvented copyright protections on the

discs   and       reproducing         the     copyrighted       content       for        further

distribution on the Internet.

                (Title 18, United States Code, Section 371.)

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                               COUNT TWO
                        (Wire Fraud Conspiracy)

          The Grand Jury further charges:

          9.     The allegations contained in paragraphs 1 through

3 of this Indictment are repeated and realleged as if fully set

forth herein.

          10.    From at least in or around 2011, up to and

including in or around January 2020, in the Southern District of

New York and elsewhere, GEORGE BRIDI , the defendant, and others

known and unknown, willfully and knowingly, combined, conspired,

confederated, and agreed together and with each other to commit

wire fraud,    in violation of Title 18, United States Code,

Section 1343.

          11.     It was a part and object of the conspiracy that

GEORGE BRIDI, the defendant, and others known and unknown,

willfully and knowingly, having devised and intending to devise

a scheme and artifice to defraud, and for obtaining money and

property by means of false and fraudulent pretenses ,

representations, and promises, would and did transmit and cause

to be transmitted by means of wire, radio, and television

communication in interstate and foreign commerce, writings,




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signs, signals, pictures, and sounds for the purpose of

executing such scheme and artifice, in violation of Title 18,

United States Code, Section 1343.

          (Title 18, United States Code, Section 1349.)

                           COUNT THREE
       {Conspiracy to Transport Stolen Property Interstate)

          The Grand Jury further charges:

          12.   The allegations contained in paragraphs 1 through

4 of this Indictment are repeated and realleged as if fully set

forth herein.

          13.   From at least in or around 2011, up to and

including in or around January 2020, in the Southern District of

New York and elsewhere, GEORGE BRIDI, the defendant, and others

known and unknown, willfully and knowingly did combine,

conspire, confederate and agree together and with each other to

commit offenses against the United States, to wit, to violate

Title 18, United States Code, Section 2314.

          14.   It was a part and an object of the conspiracy

that GEORGE BRIDI, the defendant, and others known and unknown,

would and did knowingly transport, transmit, and transfer in

interstate and foreign commerce any goods, wares, merchandise,

securities and money, of the value of $5,000 and more, knowing

the same to have been stolen, converted and taken by fraud,            in

violation of Title 18, United States Code, Section 2314.


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                               OVERT ACTS

             15.   In furtherance of the conspiracy and to effect

the illegal objects thereof, the following overt acts, among

others, were committed in the Southern District of New York and

elsewhere:

                   a.   On numerous occasions between in or around

2011 and in or around December 2019, GEORGE BRIDI, the

defendant, made various misrepresentations and material

omissions to a distributor located in Brooklyn, New York that

later moved to Linden, New Jersey (the "Brooklyn/Linden

Distributor") to fraudulently induce the Brooklyn/Linden

Distributor to mail or deliver DVDs and Blu-Ray discs through

the Southern District of New York to other members and

associates of the Sparks Group, for the purpose of reproducing

and distributing the copyrighted content on a computer network

accessible to members of the public.

              (Title 18, United States Code, Section 371.)

      FORFEITURE ALLEGATIONS AND SUBSTITUTE ASSET PROVISION

             16.   As a result of committing the offense alleged in

Count One of this Indictment, GEORGE BRIDI, the defendant, shall

forfeit to the United States, pursuant to Title 18, United

States Code, Section 2323(b), any article, the making or

trafficking of which is prohibited under section 506 of Title

17, United States Code, or section 2318, 2319, 2319A, 2319B, or

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2320, or chapter 90, of Title 18, United States Code; any

property used, or intended to be used, in any manner or part to

commit or facilitate the commission of the offenses; and any and

all property constituting and derived from proceeds obtained,

directly and indirectly, from the offense alleged in Count One

of this Indictment, including but not limited to a sum of money

in United States currency representing the amount of proceeds

traceable to the commission of said offense that the defendant

personally obtained.

             17.   As a result of committing the offenses alleged in

Counts Two and Three of this Indictment, GEORGE BRIDI, the

defendant, shall forfeit to the United States, pursuant to Title

18, United States Code, Section 981(a) (1) (C) and Title 28 United

States Code, Section 2461(c), any and all property, real and

personal, that constitutes or is derived from proceeds traceable

to the commission of said offenses, including but not limited to

a sum of money in United States currency representing the amount

of proceeds traceable to the commission of said offenses that

the defendant personally obtained.

                       Substitute Assets Provision

             2.    If any of the above-described forfeitable

property, as a result of any act or omission of the defendant:

             a.    cannot be located upon the exercise of due

diligence;

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            b.    has been transferred or sold to, or deposited

with, a third person;

            c.    has been placed beyond the jurisdiction of the

Court;

            d.    has been substantially diminished in value; or

            e.    has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section       853(p) and Title 28, United States

Code, Section 246l(c), to seek forfeiture of any other property

of the defendant up to the value of the above forfeitable

property.

              (Title 18, United States Code, Section 981;
            Title 21, United States Code, Section 853; and
             Title 28, United States Code, Section 2461.)




~
GRAND JURY FOREPERSON             GEOFFRE  ~ . BERMAN l~
                                  United States Attorney




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              UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK


               UNITED STATES OF AMERICA

                           - v. -

                       GEORGE BRIDI,

                         Defendant.


                      SEALED INDICTMENT

                        20 Cr.
                (18   u.s.c.   §§   371, 1349)


                                   GEOFFREY S. BERMAN
                               United States Attorney




                                GRAND JURY FOREPERSON




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